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         UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

United States of America                      )
                                              )
    v.                                        )       USDC No. 22-cr-89 (APM)
                                              )
Nancy Barron, defendant.                      )

                                          ORDER

         Upon good cause shown in Defendant’s Unopposed Motion to Review Conditions of

Release, the lack of opposition from the United States, and on other evidence before the Court in

the record of the case, it is hereby

         ORDERED, this ____ day of _________________, 2022, that the firearms restriction

imposed on the defendant in the Pretrial Release Order (Doc. 7, page 2, ¶7(k)) is hereby vacated

so long as defendant provides verification to the Pretrial Services Agency of her compliance with

Indiana law, and it is further

         ORDERED, the restriction of the possession of other weapons or destructive devices

shall remain in effect.

                                       ________________________________
                                       Hon. Amit P. Mehta
                                       United States District Judge
                                       United States District Court for the District of Columbia

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